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UNITED sTATEs DISTRICT coURT F"-*- -' - . >--C-
FoR THE WESTERN DISTRICT oF TENNESSEE
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AMERlcoAcH ToURs, INC., individually §-,",-.;=" eis "§`§E; s
and as subrogee of DISCOVER RE,
Plaintiff,
vs. Case No. 04-2016 B/V (Consolidated)

05-2067 MafV
DETRIOT DIESEL CORPORATION,
MOTOR COACH INDUSTRIES, INC.,
and ESPAR, INC.

Defendants.

 

RULE 16(b) SCHEDULING oRDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): July 14, 2005

JOINING PARTIES: August 30, 2005
AMENDING PLEADINGS: August 30, 2005
COMPLETING ALL DISCOVERY: January 20, 2006

DEADLINE FOR SERVING

REQUESTS FOR PRODUCTION,

INTERROGATORIES

AND REQUESTS FOR ADMISSIONS: Decernber 20, 2005

EXPERT DIscLosURE (Rule za(a)(z)):

PLAINTIFF: October 30, 2005
DEFENDANTS: Novernber 30, 2005
DEPOSITIONS OF EXPERTS: January 20, 2006

This document entered on the docket

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FILING DISPOSITIVE MOTIONS: February l'/`, 2006

FINAL LIsT oF wITNEssEs AND EXHIBITS (Rule 26(a)(3)):

PLAINTlFF: April 17, 2006
DEFENDANT: May 3, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or Service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

This case is set for non-jury trial, and the trail is expected to last 7 day(s). The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60 shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties With a definite trial date that will not be continued unless a
continuance is agreed to by all the parties, or an emergency arises which precludes the matter
from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or

private mediation on or before the close of discove;y.

This order has been entered aHer consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order Will not be modified or
extendedl

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DIANE K. vnscovo
uNrrEr) sTATEs MAGIsrRATE JUDGE

IT IS SO ORDERED.

DATE: gnma 22 3005"

 

June 28, 2005 to the parties listed.

F TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CV-02016 Was distributed by faX, mail, or direct printing on

 

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Honorable .1. Breen
US DISTRICT COURT

